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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY




   IN RE: JOHNSON & JOHNSON TALCUM                No. 3:16-md-02738-MAS-RLS
   POWER PRODUCTS MARKETING, SALES
   PRACTICES, AND PRODUCTS LIABILITY
   LITIGATION




      REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL
        INSPECTION OF DR. WILLIAM LONGO’S LABORATORY
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                                  INTRODUCTION

        The issue on this motion is black and white: If Dr. Longo is not willing to

  submit to an inspection, this Court should exclude his PLM-chrysotile testing since

  it is not capable of being reproduced or independently verified absent the

  contemporaneous observation which the PSC is opposing. In an order issued after

  Defendants submitted their motion, the district court in another matter, Gref,

  succinctly summarized the core issue with MAS’s PLM-chrysotile testing: The

  “firsthand observations of the colors seen through a polarized light microscope

  determine the purported identification of ‘asbestos.’” Ex. AB at 4, Hess et al. v. Am.

  Int’l Indus. et al., No. 1:24-cv-02195, ECF No. 7 (N.D. Ga.). Yet “these observations

  are subjective and unrepeatable” and “no one can retroactively observe what Mr.

  Hess saw—not even Dr. Longo” Id.

        A deposition of Mr. Hess alone, however, is not sufficient to allow Defendants

  the opportunity to test what no party disputes is Dr. Longo’s case-defining opinion

  in this matter, i.e., his alleged observation of asbestos in Johnson’s Baby Powder

  (“JBP”). Normally, a party is entitled to both the data that underlies an opposing

  expert’s opinion in order to independently verify that expert’s conclusions and a

  deposition of the expert who performed the relevant analysis stemming from that

  data. Here, Defendants have been afforded neither.




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        Per Dr. Longo’s testimony, the only way to verify his testing is to look down

  the microscope live. It is Dr. Longo, not Defendants, who has repeatedly defined his

  method in that manner. The need for an inspection here is not an effort by Defendants

  to waste time or harass; it stems directly from Dr. Longo’s own testimony. While

  ordering observation of an opposing party’s expert’s testing may be rare, it is not

  unprecedented. And it is dictated by the unique method Dr. Longo chose. Put

  succinctly, this is a position that Dr. Longo has put himself in.

        Not only is the inspection critical to evaluating Dr. Longo’s opinion under

  Rule 702, given Dr. Longo’s day-to-day work in talc litigation, the PSC’s burden

  arguments fall flat. Dr. Longo and the analysts that work for him at MAS conduct

  PLM analyses of cosmetic talc constantly. If the Court is not inclined to order a

  specific, MDL-centric inspection event, it can simply order an inspection when MAS

  is otherwise conducting such analysis.

                    BACKGROUND ON RELEVANT TESTING

        To avoid any confusion regarding what testing is relevant to this motion,

  Defendants provide additional background on Dr. Longo’s testing and reports. In the

  first round of expert reports in this MDL, Dr. Longo submitted, after some

  amendments, a February 1, 2019 report designated his “2nd Supplemental Report.”

  Ex. AC, Longo 2/1/2019 MDL Rpt. As part of that report, Dr. Longo tested over 50

  containers of JBP and Shower to Shower from the Johnson & Johnson archive. Id.



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  at 7, 27. 1 Dr. Longo conducted testing of the container samples by both TEM and

  PLM, but never found chrysotile in any sample using any testing method. Id. at 33-

  48. Following Daubert briefing and hearings, the Court excluded the PLM

  component of Dr. Longo’s analysis. In re Johnson & Johnson Talcum Powder

  Prods. Mktg., Sales Pracs. & Prods. Litig., 509 F. Supp. 3d 116, 155 (D.N.J. 2020).

           In early 2020, Dr. Longo testified before the FDA that he had “cracked the

  code” for testing talc for chrysotile asbestos using PLM. Mot. Ex. T, Longo 2/4/20

  FDA Tr. 176:19-177:5. He then proceeded to issue numerous reports in the state

  court litigation which set out the results of MAS’s testing of JBP using his new PLM

  method. Now, as a matter of course, each time Dr. Longo issues a report in any

  individual case, it becomes part of the body of work that Dr. Longo relies on going

  forward in each subsequent case.

           One report Dr. Longo issued since his reliance on a “new” PLM method was

  the Valadez report. See Mot. Ex. K. This report is particularly important because it

  was the first time MAS stopped using a microscope with a tungsten lightbulb that

  emitted a yellow/orange-hued light that distorted the color of the images—a key

  component of the analysis. MAS also used a new type of oil in this report, which

  also affects the color of the results. See Mot. Ex. X at 37 (comparing Valadez and

  pre-Valadez images).


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      He also tested several “railcar samples” of talc. Id.

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        When the second round of expert reports were exchanged in this MDL, Dr.

  Longo submitted an updated 4th Supplemental Report. See Opp. Ex. D. As that

  report makes clear, Dr. Longo did not test (and has never tested) with his new PLM

  methodology the samples from the J&J archive that were the subject of his original

  MDL report. Instead, Dr. Longo’s current MDL report incorporates his state court

  litigation reports issued between the time of the prior Daubert decision and his most

  recent deposition in this matter. Id. at 2.

        The Valadez report, noted above, is among the testing incorporated into Dr.

  Longo’s current MDL report. Compare id. at 24 (sample M71614-001) with Mot.

  Ex. K, Longo Valadez Rpt. (sample M71614-001). In short, the Valadez report is

  part of Dr. Longo’s analysis in this MDL and serves as an exemplar of Dr. Longo’s

  chrysotile testing.

                                       ARGUMENT

  I.    Dr. Longo’s Chosen Methodology Uniquely Requires The Requested
        Inspection.

        Dr. Longo and his team picked the methodology they use to allegedly and

  repeatedly identify chrysotile asbestos in JBP. And they chose a methodology that,

  by Dr. Longo’s own testimony, requires looking live down his microscope in order

  to understand and confirm the conclusions. The need to look live down his

  microscope demonstrates why an inspection is appropriate, why this situation is




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  unlike the Teer and Mancuso cases the PSC relies on in opposition that involved no

  need for an observation, and why this Court has authority to order the inspection.

           Defendants did not “distort” Dr. Longo’s testimony regarding his

  methodology. The PSC’s various responses to this fundamental issue do not hold

  water.

           First, the PSC criticizes Defendants for providing examples “exclusively

  from deposition testimony in the Valadez case.” Opp. 12. There was no need for

  Defendants to ask Dr. Longo the same questions over and over again in different

  cases just to receive the same answers in multiple transcripts. But, lest there be any

  doubt as to Dr. Longo’s position, less than two weeks ago during a New Jersey state

  court hearing on the reliability of his new PLM method, he repeatedly gave the same

  testimony. As in Valadez, Dr. Longo routinely defaulted to his mantra that to

  understand his conclusions, one must look live down his microscope:

             • “[Y]ou have to be looking under the microscope.” Ex. AD, Longo
               Clark Hr’g (Vol. I) 113:25-114:3.

             • “I’m not sitting at the microscope and this has been copied a few times,
               so it’s kind of hard to debate you on it.” Id. at 117:2-4.

             • “I would need to be looking at the microscope here.” Id. at 119:1-2.

             • “I’d have to be on the microscope.” Ex. AE, Longo Clark Hr’g (Vol.
               II) 290:2-8.




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      Second, Defendants did not “cherry pick” quotations or take material “out of

context” as the PSC claims. See Opp. 11-12. 2 Dr. Longo’s repeated testimony

demonstrates that based on the methodology he chose to employ, it is impossible to

independently verify his results without looking down his microscope. Using

Valadez as an example, Dr. Longo testified that he could not determine if a particle

was talc or asbestos without looking down the microscope. Mot. Ex. L, Longo

Valadez Dep. 55:17-56:18. Similarly at the Clark hearing less than two weeks ago,

Dr. Longo testified that the only way to determine whether his entire analysis is

wrong is to be looking down the microscope:

            [Q.] [I]f you’re claiming to see some sort of edge effect here that
      you’re basing your purple color on but it’s an artifact, then your entire
      analysis is wrong?
            A.     No, this analysis is not wrong. This is chrysotile and I would
      need to be looking at the microscope here. I stand by this. It’s not wrong.

Ex. AD, Longo Clark Hr’g (Vol. I) 118:20-119:3 (emphasis added).

      And his testimony in this regard does not go to an ancillary issue. It is Dr.

Longo’s main justification to defend the core of his results claiming to find

chrysotile—a justification he returns to time and time again. He has even said that

he’s “not aware of any other labs that have a PLM setup like” his and one might not

find chrysotile on a “regular PLM setup.” Ex. AR at 367:6-7, 374:16-18.


2
  To dispel any suggestion that the “full context of the discussion is not included in
the excerpt,” (Opp. 12), Defendants submit the entirety of the transcripts for the
Valadez deposition (Ex. AF), and the two-day hearing in Clark (Exs. AD, AE).

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      Nor is the need to look down Dr. Longo’s microscope a concern manufactured

by Defendants. Testimony from other plaintiff-side experts further demonstrates that

Defendants were not “cherry picking” testimony nor creating an issue out of nothing.

Dr. Steven Compton is a plaintiff-side expert in the cosmetic talc litigation (though

not in this MDL) who generally tests talc ore for the presence of asbestos. He is a

“trained PLM microscopist.” Ex. AH, Compton Herford (Vol. II) Dep. 100:1-2. He

too has reviewed certain of Dr. Longo’s chrysotile testing and testified: “Without

looking at the sample myself, I can’t independently verify the results.” Ex. AI,

Compton Zimmerman Dep. 22:10-12; see also id. at 21:3-20 (reviewed testing).

      Under the circumstances, Dr. Compton explained that Dr. Longo’s test

methodology leaves Defendants with two options—trust the lab who did the testing

or look down the microscope yourself: “So, you either have to rely on the fact that

the work is being completed by an accredited laboratory, by someone who has been

trained and understands the methodology and the principles behind how that analysis

is performed, or you would need to analyze it yourself.” Ex. AJ, Compton Lopez

Dep. 108:15-21.

      What’s more, Dr. Compton tested 18 Chinese talc ore samples (the talc used

for years in JBP) by TEM, which is a more sensitive microscope than PLM. Ex AO,

9/24/2020 Compton Report at 3; Ex. AP, Longo Hayes Tr. 177:24-178:5 (more

sensitive). Dr. Compton found no chrysotile in any of the 18 samples. Ex. AO,



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9/24/2020 Compton Report at 3. Dr. Longo then tested the same 18 samples by PLM,

the less sensitive microscope, yet somehow reported finding chrysotile in all 18 of

the 18 samples. Ex. AQ, Longo 10/8/2020 Rpt. at 12, 22-23 Yet, according to the

PSC, both Defendants and this Court are supposed to simply accept these results and

live with Dr. Longo’s representation that if we could only look down his microscope,

we would see why he is right (though he has no plan to let us look).

      Third, the PSC complains that the “exhibits being referenced [in the

deposition] are not identified nor attached to the filing.” Opp 12. In fact, Defendants

attached the full set of images that were being shown to Dr. Longo (Mot. Ex. X) and

attached Dr. Longo’s full Valadez report that was the main subject of the questioning

(Mot. Ex. K). For good measure, Defendants even attached an exemplar video clip

so the Court could watch the questioning of Dr. Longo with the relevant image on

the screen so that there could be no confusion on this issue. Mot. Ex. L.1. 3

      Fourth, the fact that the Valadez “deposition was conducted remotely” is not

relevant. See Opp. 12. As the video clip Defendants submitted makes clear, Dr.

Longo had his own hard copy version of the report in front of him during that

deposition. See Mot. Ex. L.1. And Dr. Longo appeared in person at the recent Clark




3
 To the extent there is truly any concern on this issue, Defendants have submitted
an exhibit matching the Valadez testimony to the image being displayed. See Ex.
AK.

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hearing where he gave the same exact testimony regarding his need to look live in

his microscope in order to answer simple questions about the imaging in his report.

      Fifth, the PSC’s arguments regarding the reports of Dr. Wylie and Dr. Su

raised in their supplemental letter (ECF No. 32807) are meritless. Those reports do

not move the needle on the critical issue before the Court on this motion. Yes, those

reports amply demonstrate that Defendants and their experts have criticisms of Dr.

Longo’s analysis. But Dr. Longo’s response to those criticisms is to say he needs to

look down his microscope in order to explain why he is right—precisely what

Defendants have moved the Court on this motion to do as well. 4

      Finally, as the Valadez, Clark, and other examples cited in these papers make

clear, Defendants cannot simply cross examine Dr. Longo as the PSC suggests.

(Opp. 9-10). When Defendants ask him about fundamental flaws in his testing, Dr.

Longo’s response is to essentially say: well trust me, when you look down the

microscope at my lab you can tell this is asbestos. That leaves no follow up question

to ask. His testimony places a roadblock on further questioning if he is not willing

to have a defense expert look at the same particles at the same time under the same

microscope.


4
  Similarly, the PSC’s suggestion that “Defendants’ experts have never tested any
samples from these bottles” is flat out false. Opp. 8. Defendants’ expert Dr. Matt
Sanchez has conducted tests of samples from many of the same bottles when
permitted to do so in the relevant state court case where the MAS test was originally
conducted. See, e.g., Ex. AM.

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II.   This Court Can And Should Order Defendants’ Requested Inspection.

      A.     This Court has authority to order Dr. Longo to conduct testing
             under the observation of Defendants.

      This Court has the authority to order the inspection of Dr. Longo’s testing as

Defendants’ have requested. While it is generally true that an expert is allowed “to

perform his or her work without being scrutinized by the opposing expert,” “the

particular circumstances of a case may dictate a different result.” Diepenhorst v. City

of Battle Creek, et al., 2006 WL 1851243, at *1 (W.D. Mich. June 30, 2006). For

example, “when a party proposes destructive testing, or there is controversy

concerning the nature of the test, it sometimes becomes necessary to force the

experts to collaborate.” Id.

      Ordering an expert to conduct a test may be rare, but it is not “wholly

unprecedented.” See Opp. 4. Insituform Techs., Inc. v. AMerik Supplies, Inc. was a

patent infringement case involving a pipeline system known as “Top Hat.” 588 F.

Supp. 2d 1349, 1351 (N.D. Ga. 2008). The plaintiff’s expert, Dr. Parnas, performed

destructive testing of Top Hat samples where he heated them to 450°C. Insituform

Techs., Inc. v. Amerik Supplies, Inc., 2010 WL 11493292, at *12 (N.D. Ga. Feb. 19,

2010). The court “ORDER[ED] Insituform to instruct Parnas to repeat his testing on

another Top Hat sample, should Cosmic so request. Cosmic’s counsel and an expert

witness shall be allowed to attend Parnas’s second test.” Id. at *24.




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      Similarly, United States v. Harpham concerned a criminal defendant who was

charged with attempting to use an improvised explosive device (known as an

“IED”). 2015 WL 4623717, at *1 (E.D. Wash. Aug. 3, 2015). The prosecution’s

expert conducted tests of IEDs, and the court “required, at the defense expert’s

request, the FBI to ‘forthwith re-construct three identical test IEDs and re-perform

the tests conducted earlier with [the defense expert] present.’” Id. at *3.

      Indeed, courts routinely require that the other side’s expert be permitted to

attend destructive testing. 5 In fact, one of the factors courts consider in whether to

permit destructive testing is whether there is a “reasonable opportunity for the [non-

movants] and their experts to observe and record the procedures involved.” Sero v.

Tricam Indus., Inc., 2023 WL 6318013, at *7 (D.N.J. Sept. 28, 2023)

      The circumstances here are analogous. It’s true that, at least in some instances,

other talc from the same containers that MAS tested was available for Defendants’

expert to test. But critically, the slides with the specific particles identified as

chrysotile have degraded and been discarded—even when Defendants worked

quickly to try to obtain them. See, Mot. Exs. R-S. Had Defendants known in advance



5
 See e.g., Trice v. Toyota Motor Corp., 2012 WL 12894708, at *2 (D. Minn. Sept.
12, 2012); Rattay v. Medtronic, Inc., 2007 WL 1417158 at *2-3 (N.D. W. Va. May
10, 2007); Holmes v. J.M. Prods., Inc., et al., 2005 WL 927172 at *4 (W.D. Tenn.
Jan. 7, 2005); Spell v. Kendall-Futuro Co., 155 F.R.D. 587, 588 (E.D. Tex. 1994);
Ostrander v. Cone Mills, Inc., 119 F.R.D. 417, 420 (D. Minn. 1988); Pizza Hut,
Inc. v. Midwest Mech., Inc., 1988 WL 8980, at *1 (N.D. Ill. Feb. 1, 1988).

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that Dr. Longo would discard the PLM slides and then claim that the only way to

properly identify the particles would be to look live down the microscope,

Defendants would have requested to be present for that testing—none of which even

occurred directly in connection with this MDL. The PSC should not be permitted to

shield Dr. Longo by virtue of the fact he only claimed that live examination of the

particles was essential to his conclusions after the testing was completed and the

slides discarded.

      B.     This Court can order an inspection when testing is already
             occurring.

      The PSC’s suggestion that Defendants’ request will require special testing,

and that such testing would be burdensome, has no foundation in reality. MAS is

constantly performing PLM testing of cosmetic talc. In his MDL report alone, Dr.

Longo lists 49 chrysotile tests over the past 3 years. Opp. Ex. D at 17-26 (Tables 1-

7). And he is testing cosmetic talc generally even more often than that. A plaintiffs’

firm-created chart shows that MAS has performed 125 different tests using Dr.

Longo’s new PLM method as of February 2023 (100% of which reported as finding

chrysotile). See Ex. AL. Indeed, Dr. Longo has testified that his PLM-talc work is

ongoing. Mot. Ex. V, Longo MDL (Vol. I) Dep. 47:6-13, 118:5-119:7. In short, the

Court can simply order that the inspection occur at a time when MAS testing would

otherwise be occurring as part of their regular lab activities.




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      C.     An inspection is proportional to the needs of the case and not
             unduly burdensome.

      Relatedly, the requested inspection is far from “disproportionate to the needs

of the case.” Opp. at 6. Whether JBP contains asbestos is at the very heart of this

MDL. And Dr. Longo is claiming to find chrysotile in nearly 100% of all samples

he tests now using a method that he claims can only be evaluated by looking live

down the microscope in his lab. While Defendants recognize that an inspection

inherently carries burdens not associated with other types of discovery such as

document requests, the need for this inspection far outweighs any burden on MAS.

      The PSC submitted no evidence whatsoever to support a burden, much less

its contention that an inspection “would have the effect of shutting down MAS’s

operations for the duration of the inspection.” Opp. at 10. In fact, Dr. Longo testified:

“I’d be perfectly happy to have, you know, Dr. Sanchez—well his PLM person come

here—watch us make the sample. We can go and look for it and say here’s the

structure, go ahead and look at it. What’s the difference? Probably better that way.”

Ex. AG, Longo Streck Dep. 135:17-25.

       MAS conducts testing of talc constantly. The “72 hours” of sample

preparation time that the PSC refers to (Opp. 10) represents the amount of time MAS

has at times spun the talc sample in a centrifuge. See Opp. Ex. G at 148:16-17; but

see Mot. Ex. P at 203:6-10 (10 minutes). Defendants are obviously not suggesting




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that experts stare at a centrifuge for 72 hours straight. No observation is necessary

during that passive component.

      D.     This Court can order that Dr. Longo’s testing should be excluded
             if he does not submit to an inspection.

      Finally, and importantly, the Court has at its disposal another mechanism of

resolving this issue if Dr. Longo is so fundamentally opposed to allowing

Defendants to look live down the microscope he keeps holding out as the key to his

groundbreaking opinions: exclude Dr. Longo’s PLM testing.

      Under Daubert and Rule 702, a “key question” is whether the technique at

issue “can be (and has been) tested.” Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579, 593 (1993); see In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d

Cir. 1994) (discussing the “testability of the expert's hypothesis”). “Someone else

using the same data and methods must be able to replicate the result” of the expert.

Zenith Elecs. Corp. v. WH-TV Broad. Corp., 395 F.3d 416, 419 (7th Cir. 2005); U.S.

v. Hebshie, 754 F.Supp.2d 89, 125 (D. Mass. 2010) (“Documentation is necessary

to test a hypothesis; in fact, reproducibility is the sine qua non of ‘science’”). An

expert’s opinion must “allow[ ] a factfinder to independently verify the accuracy of

the expert’s results” to be admissible. Kemp v. Tyson Seafood Grp., Inc., 2000 WL

1062105, at *7 (D. Minn. July 19, 2000).

      For example, an expert’s opinion was excluded where he “could not reproduce

his own results when asked to re-score the slides using his own method.” In re Diet


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Drugs Prods. Liab. Litig., 2001 WL 454586, at *13 (E.D. Pa. Feb. 1, 2001); see also

U.S. v. Johnson, 122 F. Supp. 3d 272, 330 (M.D.N.C. 2015) (excluding expert

testimony because expert’s subjective “methodology is seriously flawed and cannot

be replicated”). Here, Dr. Longo similarly could not identify whether a particle was

talc or asbestos when asked to look at the very images MAS itself produced.

      The prior opinion in this MDL demonstrates why, short of allowing

inspection, Dr. Longo’s PLM analysis should be excluded. In the first round of

expert reports, Dr. Longo did not produce the standards which he used to determine

what percentage of asbestos he was claiming to find by PLM. In re J&J Talc Litig.,

509 F. Supp. 3d at 155. In striking his testimony, the Court explained: “Without that

information, which is internally created by MAS, reproducing Dr. Longo’s test under

the PLM would not be possible, and hence, the testing is unreliable.” Id.

      Similarly in this second round of PLM testing, Defendants do not have the

materials sufficient to independently verify Dr. Longo’s PLM testing, rendering it

unreliable. Because of the way Dr. Longo himself has defined his methodology as

requiring live examination under his microscope, the Court, Defendants and any

future jury is left with the ipse dixit of Dr. Longo: It is asbestos because I say so

after I looked down the microscope (which Dr. Longo in fact rarely did himself).

                                 CONCLUSION

      The Court should grant Defendants’ motion to compel.



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Dated: June 11, 2024                Respectfully submitted,

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